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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

                                                        )
ARTHREX, INC.                                           )
                                                        )
                            Plaintiff,                  )
                                                        )
                               v.                       ) CIVIL ACTION. NO. _____________
                                                        )
NATIONAL UNION FIRE INSURANCE                           ) JURY TRIAL DEMANDED
COMPANY OF PITTSBURGH, PA, and                          )
FEDERAL INSURANCE COMPANY,                              )
                                                        )
                            Defendants.                 )
                                                        )

                        COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Arthrex, Inc. (“Arthrex”), by and through its undersigned attorneys, hereby files

this Complaint against Defendants National Union Fire Insurance Company of Pittsburgh, Pa.

(“AIG”) and Federal Insurance Company (“Chubb”) (collectively with AIG, the “Defendant

Insurers”), and in support thereof, avers as follows:

                                          NATURE OF THE CASE

        1. This is an insurance coverage action in which Arthrex seeks the full $20 million policy

limits of its private corporation director’ and officers’ insurance (“D&O”) policies after the

Defendant Insurers wrongly denied coverage for Arthrex’s legal fees and costs incurred in defense

and settlement of claims alleging violations of the federal False Claims Act and state equivalents.

        2. Arthrex purchased primary and excess D&O insurance policies respectively from the

Defendant Insurers for the policy period April 26, 2019, to April 26, 2020 (collectively, the

“Subject Policies,” as more fully defined below).

        3. Among other types of coverage, the Subject Policies insure Arthrex for loss, including

both defense costs and liability amounts, arising from certain claims deemed made against Arthrex



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and/or Arthrex’s directors and officers (collectively, “Insureds”) during the Defendant Insurers’

policy period.

        4. Arthrex brings this action seeking: (1) damages resulting from the Defendant Insurers’

breach of their contractual obligations under the Subject Policies by refusing to pay Arthrex’s

insured Loss resulting from the defense and resolution of the now-dismissed qui tam lawsuit styled

United States, et al. ex rel. Joseph B. Shea v. Arthrex, Inc., et al., Civil Action No. 1:20-cv-10210

(D. Mass.), and (2) pre-judgment and post-judgment interest, attorneys’ fees, costs, and such other

further relief as the Court may deem just and proper.

                                         THE PARTIES

        5. Plaintiff Arthrex, Inc. is a Delaware corporation with its principal place of business in

Naples, Florida.

        6. Defendant National Union Fire Insurance Company of Pittsburgh, Pa. is an insurance

company incorporated in Pennsylvania with its principal place of business in New York, New

York. National Union Fire Insurance Company of Pittsburgh, Pa is licensed to do and does transact

substantial business in the State of Delaware.

        7. Defendant Federal Insurance Company is an insurance company incorporated in Indiana

with its principal place of business in Whitehouse Station, New Jersey. Federal Insurance

Company is licensed to do and does transact substantial business in the State of Delaware.

                                 JURISDICTION AND VENUE

        8. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.

        9. The Court has personal jurisdiction over AIG because AIG is licensed to do and does

transact business in the State of Delaware and is subject to personal service in this state.




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Jurisdiction over AIG also exists pursuant to 10 Del. Code § 3104 because AIG contracted to

insure risks to Arthrex and its insured persons in Delaware and under Delaware corporation law.

        10.     The Court has personal jurisdiction over Chubb because Chubb is licensed to do

and does transact business in the State of Delaware and is subject to personal service in this state.

Jurisdiction over Chubb also exists pursuant to 10 Del. Code § 3104 because Chubb contracted to

insure risks to Arthrex and its insured persons in Delaware and under Delaware corporation law.

        11.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) because both AIG and Chubb

reside in the State of Delaware and this district for the same reasons they are “subject to the court’s

personal jurisdiction with respect to the civil action in question.” 28 U.S.C. § 1391(c)(2).

                                   THE SUBJECT POLICIES

        12.     AIG sold a PrivateEdge Plus Policy No. 01-340-76-97, to Arthrex for the policy

period April 26, 2019, to April 26, 2020 (“AIG Policy”).

        13.     A true and correct copy of the AIG Policy is attached hereto as Exhibit A.

        14.     Chubb sold a Directors and Officers Liability and Reimbursement Excess Policy

No. 8240-1243, to Arthrex for the policy period April 26, 2019, to April 26, 2020 (“Chubb

Policy”).

        15.     A true and correct copy of the Chubb Policy is attached hereto as Exhibit B.

        16.     Collectively, the AIG Policy and Chubb Policy are referred to as the “Subject

Policies.”

                                   FACTUAL BACKGROUND

        17.     Founded by Reinhold Schmieding in 1981, Arthrex is a global medical device

company and leader in new product development and medical education in orthopedics.




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        18.     Arthrex has pioneered the field of arthroscopy and develops more than 1,000

innovative products and procedures each year.

        19.     As part of its development of cutting-edge products and procedures, Arthrex

partners with doctors and innovators who are then paid license and royalty fees for their substantial

contribution to the intellectual property in the products Arthrex sells.

The AIG Policy

        20.     On or about April 26, 2019, Arthrex purchased the AIG Policy, which provides a

$10 million aggregate Limit of Liability subject to four separate Insuring Agreements. Ex. A,

D&O Coverage Section, Section 1.

        21.     Specifically, the AIG Policy provides coverage for amounts that Arthrex incurs on

its own behalf subject to the following insuring agreement:

                This D&O Coverage Section shall pay the Loss of the Company
                arising from a . . . (i) Claim made against the Company . . . for any
                Wrongful Act, but, in the case of Coverage B(ii) above, only when
                and to the extent that the Company has indemnified the Individual
                Insured for such Loss. The Insurer shall, in accordance with and
                subject to Clause 7 of this D&O Coverage Section, advance
                Defense Costs of such Claim prior to its final disposition.

Id., D&O Coverage Section, Section 1.(Coverage B(i)).

        22.     The AIG Policy also provides coverage for amounts that Arthrex indemnifies its

directors and officers subject to the following insuring agreement:

                This D&O Coverage Section shall pay the Loss of the Company
                arising from a . . . (ii) Claim made against an Individual Insured,
                for any Wrongful Act, but, in the case of Coverage B(ii) above,
                only when and to the extent that the Company has indemnified the
                Individual Insured for such Loss. The Insurer shall, in accordance
                with and subject to Clause 7 of this D&O Coverage Section,
                advance Defense Costs of such Claim prior to its final disposition.

Id. (Coverage B(ii)).

        23.     The AIG Policy defines “Loss” as, in relevant part:

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                damages, judgments, settlement, pre-judgment and post-judgment
                interest, . . . and Defense Costs; provided, however, Loss shall not
                include: (i) civil or criminal fines or penalties imposed by law;
                (ii) taxes; (iii) any amounts for which an Insured is not financially
                liable or which are without legal recourse to an Insured; or
                (iv) matters which may be deemed uninsurable under the law
                pursuant to which this policy shall be construed. Notwithstanding
                the foregoing subparagraph (iv), the Insurer shall not assert that, in
                a Securities Claim alleging violation of Section 11, 12 or 15 of the
                Securities Act of 1933, as amended, the portion of any amounts
                incurred by Insureds which is attributable to such violations
                constitutes uninsurable loss and shall treat that portion of all such
                settlements, judgments and Defense Costs as constituting Loss
                under this policy. Defense Costs shall be provided for items
                specifically excluded from Loss pursuant to subparagraphs (u)(i)
                through (u)(iv) above of this Definition, subject to the other terms,
                conditions and exclusions of this policy.

                Loss shall specifically include, subject to the other terms, conditions
                and exclusions of this D&O Coverage Section, including, but not
                limited to, exclusions 4(a), 4(b) and 4(c) of this D&O Coverage
                Section, punitive, exemplary and multiple damages. . . . The
                enforceability of this first sentence of this paragraph shall be
                governed by such applicable law which most favors coverage for
                punitive, exemplary and multiple damages.

                Punitive, exemplary and multiplied damages are only insurable to
                the extent (1) such damages are insurable under the law of any
                jurisdiction other than Florida that has a substantial relationship to
                the Insureds, the Claim, the Insurer, or this policy and is most
                favorable to the insurability of such damages and (2) that this policy
                is construed by a court of competent jurisdiction, or an arbitrational
                panel, pursuant to the laws of any jurisdiction other than Florida.

Id., D&O Coverage Section, Section 2.(u), as amended by Endorsement Nos. 1 & 4.

        24.     The AIG Policy defines “Defense Costs” as, in relevant part, “the reasonable and

necessary fees, costs and expenses consented to by the Insurer . . . resulting solely from the

investigation, adjustment, defense and appeal of a Claim against an Insured.” Id. D&O Coverage

Section, Section 2.(k).

        25.     The AIG Policy defines “Company” as, in relevant part, “the Named Entity.” Id.,

General Terms and Conditions, Section 2.(b).

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        26.     The AIG Policy defines “Named Entity” as “the entity listed in Item 1 of the

Declarations.” Id., General Terms and Conditions, Section 2.(i).

        27.     Item 1 of the AIG Policy’s declarations lists “Arthrex, Inc.” as the Named Entity.

Id., Declarations, Item 1.

        28.     The AIG Policy defines “Claim” as, in relevant part:

                (i)    a written demand for monetary, non-monetary or injunctive relief
                       (including any request to toll or waive any statute of limitations);

                (ii)   a civil, criminal, administrative, regulatory or arbitration proceeding
                       for monetary, non-monetary or injunctive relief which is
                       commenced by:
                         (1) service of a complaint or similar pleading;
                         (2) return of an indictment, information or similar document (in
                             the case of a criminal proceeding); or
                         (3) receipt of filing of a notice of charges; or

                (iii) a civil, criminal, administrative or regulatory investigation of an
                      Individual Insured:
                        (1) once such Individual Insured is identified in writing by such
                            investigating authority as a person against whom a proceeding
                            described in Definition 2(b)(ii) may be commenced; or
                        (2) in the case of an investigation by the Securities Exchange
                            Commission (“SEC”) or a similar state or foreign
                            governmental authority, after:
                                (a) the service of a subpoena upon such Individual
                                    Insured; or
                                (b) the Individual Insured is identified in a written
                                    “Wells” or other notice from the SEC or a similar state
                                    or foreign government authority that describes actual
                                    or alleged violations of laws by such Individual
                                    Insured.

Id. D&O Coverage Section at Section 2.(b), as amended by Endorsement No. 29.

        29.     The AIG Policy defines “Individual Insured” to mean, among other individuals,

any “Executive” or “Employee” of Arthrex. Id., D&O Coverage Section, Section 2.(s), as

amended by Endorsement No. 10.




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        30.     The AIG Policy defines “Executive” to mean, among other things, “any past,

present or future duly elected or appointed director, officer, management committee member or

member of the Board of Managers.” Id., D&O Coverage Section, Section 2.(n).

        31.     The AIG Policy defines “Wrongful Act” as, in relevant part, “any breach of duty,

neglect, error, misstatement, misleading statement, omission or act by a Company.” Id., D&O

Coverage Section, Section 2.(cc)(ii).

        32.     The AIG Policy contains an “Advancement of Defense Costs – 90 Days” provision,

which requires that when “the Insurer has not assumed the defense of a Claim . . . the Insurer

nevertheless shall advance on a current basis, at the written request of the Insured, covered

Defense Costs no later than ninety (90) days after receipt by the Insurer of such defense bills.”

Id., D&O Coverage Section, Section 7, as amended by Endorsement 4, § II(7).

        33.     The AIG Policy contains a “Dispute Resolution Process” provision, mandating

non-binding mediation of any “disputes or differences which may arise under or in connection

with this policy[.]” Id., General Terms and Conditions, Section 14, as amended by Endorsement 4.

        34.     The AIG Policy requires that the mediator in the required mediation “shall also give

due consideration to the general principles of the law of the state where the Named Entity is

incorporated in the construction or interpretation of the provisions of this policy.” Id.

        35.     If the requisite non-binding mediation is unsuccessful, the AIG Policy prescribes a

“cooling off” period before the commencement of litigation: “[N]o such judicial or arbitration

proceeding shall be commenced until at least sixth (60) days after the date the non-binding

mediation shall be deemed concluded or terminated.” Id.

The Chubb Policy

        36.     On or about April 26, 2019, Arthrex purchased the Chubb Policy, which provides

a $10 million aggregate Limit of Liability in excess of the AIG Policy. Ex. B, Declarations.

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        37.       The Chubb Policy provides coverage for amounts that Arthrex incurs subject to the

following lone insuring agreement:

                  The Company shall provide the Insureds with insurance during the
                  Policy Period excess of the Underlying Insurance. Coverage
                  hereunder shall attach only after all such Underlying Insurance has
                  been exhausted by payment of claim(s) and shall then apply in
                  conformance with the terms, conditions, exclusions and
                  endorsements of the Primary Policy, together with all limitations,
                  restrictions or exclusions contained in or added by endorsements to
                  any other Underlying Insurance, except as specifically set forth in
                  the terms and conditions and endorsements of this policy. In no
                  event shall this policy grant broader coverage than would be
                  provided by any of the exhausted Underlying Insurance.

Id., Section 1.

        38.       Therefore, the Chubb Policy is what is commonly referred to as a “follows form”

excess policy, meaning that it fully incorporates the terms and conditions of the Primary Policy

unless those terms and conditions are expressly modified or deleted by the Chubb Policy.

        39.       The Chubb Policy defines “Primary Policy” as “the policy scheduled in Item 4(A)

of the Declarations.” Id., Section 13.

        40.       Item 4(A) of the Chubb Policy’s Declarations lists the AIG Policy as the “Primary

Policy.” Id., Declarations, Item 4(A).

        41.       The Chubb Policy defines “Insureds” as “those persons or organizations Insured

under the Primary Policy.” Id., Section 13.

        42.       The Chubb Policy defines “Underlying Insurance” as “all those policies

scheduled in Item 4 of the Declarations.” Id., Section 13.

        43.       No policies other than the AIG Policy are listed in Item 4 of the Chubb Policy’s

Declarations.




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        44.       The Chubb Policy’s “Maintenance of Underlying Insurance” provision states:

                  All of the underlying Policy(ies) scheduled in item 4 of the
                  Declarations shall be maintained during the Policy Period in full
                  effect and affording coverage at least as broad as the Primary
                  Policy, except for any reduction of the aggregate limit(s) of liability
                  available under the Underlying Insurance solely by reason of
                  payment of losses thereunder. Failure to comply with the foregoing
                  shall not invalidate this policy but the Company shall not be liable
                  to a greater extent than if this condition had been complied with.

Id., Section 2.

        45.       The Chubb Policy’s “Depletion of Underlying Insurance” provision states:

                  In the event of the depletion of the limit(s) of liability of the
                  Underlying Insurance solely as the result of payment of losses
                  thereunder, this policy shall, subject to the Company's limit of
                  liability and to the other terms of the policy, continue to apply for
                  subsequent losses as excess insurance over the amount of insurance
                  remaining under such Underlying Insurance. In the event of the
                  exhaustion of all of the limit(s) of liability of such Underlying
                  Insurance solely as a result of payment of losses thereunder, the
                  remaining limits available under this policy shall, subject to the
                  Company's limit of liability and to the other terms of this policy,
                  continue for subsequent losses as primary insurance and any
                  retention specified in the Primary Policy shall be imposed under
                  this policy; otherwise no retention shall be imposed under this
                  policy.

Id., Section 3.

        46.       Item 5 of the Chubb Policy’s Declarations lists the Chubb Policy as incepting on

April 26, 2019, and expiring on April 26, 2020, which is consistent with the policy period of the

AIG Policy. Id., Declarations, Item 5.

The Underlying Proceedings

        47.       On or about February 4, 2020, a qui tam complaint was filed, under seal, against

Arthrex on behalf of the United States government and certain states by Joseph B. Shea

(“Relator”), in an action styled United States, et al. ex rel. Joseph B. Shea v. Arthrex, Inc., et al.,

Civil Action No. 1:20-cv-10210 (D. Mass.).

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        48.     In conformance with 31 U.S.C. § 3730(b)(2), the qui tam complaint was served on

the United States government in or about February 2020.

        49.     A copy of the now unsealed qui tam complaint is attached as Exhibit C.

        50.     The qui tam complaint alleges that the various governments on whose behalf the

action was commenced suffered actual damages as a result of allegedly false and/or fraudulent

statements, records, and claims made by the defendants in violation of the FCA and various

analogous state statutes. Ex. C at ¶ 4.

        51.     As alleged in the complaint, “[n]o proof of specific intent to defraud is required” in

order to assert a colorable claim under the FCA. Id. at ¶ 16.

        52.     The qui tam complaint alleges that Arthrex paid a co-defendant, Dr. Peter Millet,

tens of millions of dollars in royalties ostensibly to license intellectual property that Arthrex had

incorporated into its medical device products. See id. at ¶¶ 2, 107.

        53.     The qui tam complaint alleges that those royalty payments were in excess of fair

market value for the licensed intellectual property, and were allegedly intended as “a means to

disguise kickbacks to induce high capacity and high-profile physicians to utilize and recommend

Arthrex products.” Id. at ¶ 3.

        54.     The qui tam complaint alleges that Relator learned of these alleged violations of the

FCA through his prior position as “a sales agent selling Arthrex products and later in helping a

physician negotiate an Arthrex royalty contract.” Id.

        55.     As part of its responsibilities to investigate Relator’s allegations, the United States

Department of Justice propounded multiple subpoenas (“Subpoenas”) on Arthrex.

        56.     True and correct copies of the Subpoenas are attached hereto as Exhibit D and

Exhibit E.



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        57.     Both Subpoenas seek documents and information from Arthrex as well as any of

its “present or former officers, directors, representatives, employees, attorneys, consultants,

contractors, or agents.” Exs. D & E, Instructions D.

        58.     Both Subpoenas were issued as:

                necessary in the performance of the responsibility of the United
                States Department of Justice to investigate Federal health care
                offenses, defined in 18 U.S.C. § 24(a) to mean violations of, or
                conspiracies to violate: 18 U.S.C. §§ 669, 1035, 1347, or 1518; and
                18 U.S.C. §§ 287,371, 664, 666, 1001, 1027, 1341, 1343, or 1954 if
                the violation or conspiracy relates to a health care benefit program
                (defined in 18 U.S.C. § 24(b)).

Exs. D & E.

        59.     The first Subpoena was issued on January 8, 2020.

        60.     The second Subpoena was issued on February 7, 2020.

        61.     The second subpoena included a document request specifically naming Reinhold

Schmieding, Arthrex’s founder and CEO, and John Schmieding, Arthrex’s Senior Vice President

and General Counsel. Ex. E, at 5.

        62.     Both Subpoenas therefore requested documents in the personal possessions of

Reinhold and John Schmieding, with the second Subpoena identifying them by name.

        63.     The qui tam complaint, the Subpoenas, and the associated government investigation

are collectively referred to herein as the “Underlying Proceedings.”

The Defense and Settlement of the Underlying Proceedings

        64.     In consultation with the Defendant Insurers, Arthrex retained Sidley Austin LLP to

defend the company in connection with Underlying Proceedings.

        65.     Reinhold Schmieding retained counsel, first Quinn Emanuel Urquhart & Sullivan,

LLP, and subsequently Willkie Farr & Gallagher LLP, to represent his personal interests with

regard to the Underlying Proceedings.

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        66.     John Schmieding similarly retained Ropes & Gray LLP to represent his personal

interests with regard to the Underlying Proceedings.

        67.     Therefore, Arthrex has been required to pay the legal fees and costs of Sidley Austin

on its own behalf as well as Willkie Farr and Ropes & Gray through its indemnification obligations

to Reinhold and John Schmieding.

        68.     Additional legal fees were incurred by other regular counsel for Arthrex, including

Blank Rome LLP who represents Arthrex in connection with its intellectual property rights.

        69.     After extensive settlement discussions between Arthrex and the United States

government, a $16 million settlement (“Settlement Agreement”) was announced publicly on

November 8, 2021, including an acknowledgement that a qui tam lawsuit existed.

        70.     A true and correct copy of the Settlement Agreement is attached as Exhibit F.

        71.     Although the qui tam complaint was first filed and served in February 2020—i.e.,

during the Subject Policies’ policy periods, it was not unsealed until November 17, 2021.

        72.     Arthrex paid the $16 million settlement amount, plus interest, to the United States

government on November 9, 2021.

The Subject Policies Insure Arthrex for Loss Arising from the Underlying
Proceedings

        73.     As the “Named Entity” listed in the Declarations of the AIG Policy, Arthrex is the

insured “Company” under the AIG Policy.

        74.     Arthrex was named as a defendant in the qui tam complaint, which demanded an

injunction enjoining Arthrex “from violating the Federal False Claims Act” and a judgment,

among other things, “in an amount equal to three times the amount of damages caused by

Defendants’ misconduct, as well as a civil penalty for each FCA violation in the maximum

statutory amount.”


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        75.      The qui tam complaint therefore constitutes a “written demand for monetary, non-

monetary or injunctive relief” against Arthrex.

        76.      Because the qui tam complaint was served on the United States government in or

around February 2020, it also constitutes a “a civil . . . proceeding for monetary, non-monetary or

injunctive relief which is commenced by . . . service of a complaint.”

        77.      For both of these reasons, the qui tam complaint constitutes a “Claim” made against

Arthrex under the AIG Policy.

        78.      As already noted, the qui tam complaint alleges that Arthrex violated the federal

False Claims Act and state-equivalent statutes.

        79.      The qui tam complaint therefore constitutes a Claim against Arthrex “for a

Wrongful Act” under the AIG Policy.

        80.      The Subpoenas demand that documents and other information be provided by

Arthrex, as well as Reinhold and John Schmieding, to the United States government.

        81.      Reinhold and John Schmieding are both officers of Arthrex.

        82.      Reinhold and John Schmieding are each therefore both “Executives” of Arthrex

and “Individual Insureds” under the AIG Policy.

        83.      The Subpoenas carried the force of law and stated that: “Failure to comply with

the requirements of this subpoena will render you liable to proceedings in the district Court of the

United States to enforce obedience to the requirements of this subpoena, and to punish default or

disobedience.”

        84.      The Subpoenas are therefore “written demand[s] for . . . non-monetary relief,”

which in turn means they each constitute a “Claim” made against Arthrex as well as Reinhold and

John Schmieding under the AIG Policy.



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        85.     The Subpoenas assert “Wrongful Acts,” because they each assert that the United

States government is investigating potential “Federal health care offenses.”

        86.     The Subpoenas were issued on January 8, 2020, and February 7, 2020, respectively,

which is within the Subject Policies’ Policy Periods.

        87.     Arthrex indemnified both Reinhold and John Schmieding in connection with the

Underlying Proceedings.

        88.     The legal fees and costs Arthrex incurred, on its own behalf and on behalf of

Reinhold and John Schmieding, in defense of the Underlying Proceedings thereafter constitute

reasonable and necessary “Defense Costs” insured defending “Claims” for “Wrongful Acts” under

the AIG Policy.

        89.     The settlement paid by Arthrex in order to resolve the Underlying Proceedings was

a reasonable and necessary “settlement” insured under the AIG Policy.

        90.     Accordingly, the “Defense Costs” and “settlement” amounts incurred by Arthrex

defending and resolving the Underlying Proceedings are covered “Loss” under Insuring

Agreements B(i) and B(ii) of the AIG Policy, subject solely to its $10 million Limit of Liability.

        91.     Because the Chubb Policy “follows form” to the AIG Policy, Arthrex’s “Loss”

defending and settling the Underlying Proceedings is also covered under the Chubb Policy, subject

solely to its $10 million excess Limit of Liability.

        92.     Arthrex paid in full the required insurance premiums for the Subject Policies.

        93.     Arthrex satisfied in full all the terms and conditions of the Subject Policies.

        94.     The Subject Policies were in full force and effect at all pertinent times.




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The Coverage Dispute

        95.     On or about February 4, 2020, Arthrex, through its insurance broker Aon Financial

Services Group (“Aon”), provided timely written notice of the first Subpoena to the Defendant

Insurers.

        96.     On or about February 18, 2020, Arthrex, through Aon, provided timely written

notice of the second Subpoena to the Defendant Insurers.

        97.     In response to those notices, AIG issued a declination letter dated April 17, 2020,

in which it wrongly argued that the Subpoenas did not constitute a “a written demand for monetary,

non-monetary or injunctive relief” (i.e., a “Claim”) or a “Pre-Claim Inquiry.”

        98.     The AIG Primary Policy extends coverage for a “Pre-Claim Inquiry” through

endorsement.

        99.     The “Pre-Claim Inquiry” definition can be summarized, as relative to this dispute,

as a pre-Claim “verifiable request for an Individual Insured . . . to appear at a meeting or interview”

or “produce documents” to a government authority. Ex. A, Endorsement No. 26.

        100.    Other than a generalized reservation of rights, the April 17, 2020 letter does not

raise any other potentially applicable coverage defenses.

        101.    A true and correct copy of AIG’s April 17, 2020 letter is attached as Exhibit G.

        102.    Notwithstanding the denial of coverage, Arthrex requested consent to the retentions

of Sidley Austin, Willkie Farr, and Ropes & Gray as defense counsel, and AIG did so in a letter

dated July 9, 2020, subject to “a rate cap of $1000/hour for all attorneys on this matter.”

        103.    A copy of the July 9, 2020 email is attached as Exhibit H.

        104.    Individuals representing Arthrex, Aon, Sidley Austin, and the Defendant Insurers,

including each sides insurance coverage counsel, then engaged in numerous communications and

conference calls.

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        105.    During such communications, including in communications between both client

representatives and coverage counsel, Arthrex repeatedly explained to the Defendant Insurers that

the entire investigation, including the Subpoenas, almost certainly originated from a qui tam

complaint—i.e., another Claim under the Policies—that remained under seal at that time.

        106.    Subsequent to such communications, on March 1, 2021, AIG issued a letter

amending its prior declination of coverage.

        107.    In the March 1, 2021 letter, AIG agreed that the second Subpoena’s request for

documents in the possession of Reinhold and John Schmieding and a request from the government

to interview John Schmieding collectively constituted a “Pre-Claim Inquiry” under the AIG

Primary Policy.

        108.    A true and correct copy of the March 1, 2021 letter is attached as Exhibit I.

        109.    In response to AIG’s partial acceptance of coverage, Arthrex submitted to AIG for

reimbursement invoices from Willkie Farr and Ropes & Gray (i.e., counsel for the Individual

Insureds).

        110.    In an email dated April 26, 2021, AIG asserted that only $154,603.00, a small

fraction of the total fees and costs, allegedly constituted covered Pre-Claim Inquiry Costs, in part

because the invoices from Ropes & Gray were significantly redacted.

        111.    Taking into account the satisfaction of the AIG Policy’s $50,000.00 retention, AIG

agreed to pay only $104,603.00 toward the invoices that had been submitted.

        112.    A true and correct copy of the April 26, 2021 email is attached as Exhibit J.

        113.    AIG ultimately only paid $103,603.00, or $1,000.00 less than the amount even AIG

agreed was owed.




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        114.    AIG still refuses to pay the outstanding $1,000.00 that it agreed to pay, and has

never explained the shortfall or its continued reticence to pay.

        115.    AIG’s refusal to pay, or even explain the basis for its refusal to pay, the balance of

the invoices submitted as Pre-Claim Inquiry Costs was an indefensible, arbitrary, and capricious

abdication of AIG’s express and implied contractual responsibilities under the AIG Policy, and

represents unreasonable reticence and delay in handling Arthrex’s claim for insurance coverage.

        116.    On June 2, 2021, Arthrex submitted additional Willkie Farr invoices to AIG.

        117.    Pursuant to common interest privilege and confidentiality agreements with each of

the Defendant Insurers, additional invoices from Sidley Austin, Willkie Farr and Ropes & Gray

were provided to the Defendant Insurers on November 18, 2021.

        118.    However, despite the submission of the additional invoices on June 2, 2021 and

November 18, 2021, AIG has made no additional payment of either Pre-Claim Inquiry Costs or

Loss.

        119.    AIG never explained its arbitrary decision to pay some legal fees and costs as Pre-

Claim Inquiry Costs and not others, particularly with regard to the additional invoices submitted

on June 2, 2021.

        120.    AIG’s refusal to pay, or even explain the basis for its refusal to pay, any portion of

the invoices submitted on June 2, 2021 was another indefensible, arbitrary, and capricious

abdication of AIG’s express and implied contractual responsibilities under the AIG Policy, and

represents unreasonable reticence and delay in handling Arthrex’s claim for insurance coverage.

        121.    Moreover, AIG’s failure to pay, even in part, such invoices violates the AIG

Policy’s “Advancement of Defense Costs – 90 Days” provision, which requires AIG to “advance

on a current basis, at the written request of the Insured, covered Defense Costs no later than ninety



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(90) days after receipt by the Insurer of such defense bills.” AIG Policy, D&O Coverage Section,

Section 7, as amended by Endorsement 4, § II(7).

        122.    Throughout this time period, Arthrex continued to explain to the Defendant Insurers

that the government’s investigation, including the Subpoenas that even AIG agreed constituted a

Pre-Claim Inquiry, almost certainly originated from a sealed qui tam complaint.

        123.    Later, as directed by the United States government, the Defendant Insurers were

informed by Arthrex and its counsel that the existence of a qui tam complaint could no longer be

discussed.

        124.    However, despite all of this information, the Defendant Insurers refused to modify

their coverage position or pay any additional amounts toward Arthrex’s covered “Loss” and/or

“Pre-Claim Inquiry Costs.”

        125.    On February 18, 2021, another conference call was held with the Defendant

Insurers in which Arthrex’s defense counsel explained that the United States government had made

an oral offer to settle the Underlying Proceedings.

        126.    On that same day, Arthrex made a written request for the Defendant Insurers to

either consent to a potential settlement with the government or waive lack of consent as a coverage

defense.

        127.    Counsel for AIG responded the next day that AIG was maintaining its position that

a Claim had not been made, and “[c]onsequently, AIG cannot consent, withhold consent, or agree

to waive lack of consent to any settlement offer that Arthrex may be contemplating.”

        128.    A true and correct copy of the February 18-19 email exchange is attached as

Exhibit K.




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        129.    Chubb never responded to Arthrex’s February 18 request regarding consent or

waiver of lack of consent as a coverage defense.

        130.    Based on the Defendant Insurers’ continued wrongful denial of coverage and

breach of the Subject Policies, Arthrex acted as if it were a reasonable uninsured and commenced

negotiations with the government to mitigate its potential liability in the Underlying Proceedings.

        131.    On March 8, 2021, Arthrex emailed the Defendant Insurers to inform them that a

“preliminary agreement” had been reached with the United States government to settle the

underlying matter for $16 million.

        132.    In the same communication, Arthrex reiterated its request that the Defendant

Insurers inform Arthrex “if they have any objection to the settlement.”

        133.    A true and correct copy of the March 8, 2021 email is attached as Exhibit L.

        134.    Neither of the Defendant Insurers noted any objection to the proposed settlement.

        135.    Following Arthrex’s settlement with the United States government, the qui tam

complaint was unsealed.

        136.    The Defendant Insurers did not respond to the unsealing of the qui tam complaint

other than to agree to the scheduling of a mediation pursuant to the dispute resolution provisions

of the Subject Policies.

        137.    That mediation was held on February 8, 2022, with JAMS.

        138.    The mediator declared an impasse between the parties the same day.

        139.    To date, Arthrex has been wrongly required to carry the burden without

contribution from the Defendant Insurers for all Loss arising from the defense and resolution of

the Underlying Proceedings both on its own behalf and on behalf of Reinhold and John

Schmieding.



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        140.    The Defendant Insurers have refused to pay any of Arthrex’s Loss arising from the

defense and resolution of the Underlying Proceedings.

        141.    The total amount of Loss incurred by Arthrex exceeds the combined limits of

liability of the Subject Policies.

        142.    To date, Defendant Insurers’ sole basis for denying coverage has been that no

“Claim” has been made against Arthrex or either Reinhold or John Schmieding.

        143.    In doing so, Defendant Insurers have not raised or asserted the applicability of any

exclusion or other limitation of coverage in the Subject Policies.

        144.    Consistent with the Defendant Insurers’ coverage communications, no exclusions

or other limitations of coverage in the Subject Policies, other than the combined $20 million limit

of liability, apply to bar or limit coverage for the Defense Costs incurred defending the Underlying

Proceedings or the settlement payment made pursuant to the Settlement Agreement.

        145.    The Defendant Insurers’ position that neither the Subpoenas nor the qui tam

complaint constitute a “Claim” under the Subject Policies is unreasonable, unsupportable, and a

clear violation of the Subject Policies, applicable Delaware law, and the duty of good faith and fair

dealing implied in the Subject Policies.

                          FIRST CLAIM FOR RELIEF
               (BREACH OF CONTRACT AGAINST ALL DEFENDANTS)

        146.    Arthrex restates and re-alleges the foregoing paragraphs of this complaint as though

fully set forth herein.

        147.    Arthrex has fully complied with all terms and conditions of the Subject Policies

with regards to the Underlying Proceedings.

        148.    The qui tam complaint constitutes a covered “Claim . . . for a[] Wrongful Act”

under the operative insuring agreements and definitions of the Subject Policies.


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        149.    Each of the Subpoenas also constitutes a covered “Claim . . . for a[] Wrongful Act”

under the operative insuring agreements and definitions of the Subject Policies.

        150.    AIG admits that the Subpoena dated February 7, 2020, constitutes a covered Pre-

Claim Inquiry under the Subject Policies.

        151.    AIG has wrongfully refused to pay all but $103,603.00 of its $10 million share of

Arthrex’s Loss and/or Pre-Claim Inquiry Costs associated with the defense and resolution of the

Underlying Proceedings.

        152.    Chubb has refused to pay its separate $10 million share of Arthrex’s Loss and/or

Pre-Claim Inquiry Costs associated with the defense and resolution of the Underlying Proceedings.

        153.    AIG has also separately breached the “Advancement of Defense Costs – 90 Days”

provision when it has repeatedly missed the deadline to pay what it deems to be Arthrex’s Pre-

Claim Inquiry Costs (or even provide an explanation for its failure to do so).

        154.    AIG’s and Chubb’s denial of coverage and refusal to pay constitutes a material

breach of their obligations under the Subject Policies.

        155.    The Defendant Insurers’ breaches of the Subject Policies have proximately caused

Arthrex harm for which Arthrex is entitled to damages according to proof, but in any event at least

the remaining balance of the Subject Policies’ $20 million limits of liability, exclusive of interest,

attorneys’ fees, and costs.

        156.    By reason of the foregoing, the Defendant Insurers are each liable to Arthrex for its

damages sustained as a result of the Defendant Insurers’ breach of their respective contracts.




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                   SECOND CLAIM FOR RELIEF
 (BAD FAITH: BREACH OF IMPLIED DUTIES OF GOOD FAITH AND FAIR
               DEALING AGAINST ALL DEFENDANTS)

        157.    Arthrex restates and re-alleges the foregoing paragraphs of this complaint as though

fully set forth herein.

        158.    Implied in the Subject Policies are covenants that AIG and Chubb, respectively,

will act in good faith and deal fairly with Arthrex, and that AIG and Chubb, respectively, will not

act arbitrarily or unreasonably to prevent Arthrex from receiving the benefits of the Subject

Policies.

        159.    AIG’s refusal to pay Pre Claim Inquiry Costs, despite acknowledging that such

costs were covered, its refusal to pay the entirety of the Pre Claim Inquiry Costs it explicitly agreed

were covered, and its failure to ever explain or justify its position to Arthrex violates not only

AIG’s contractual obligations under the AIG Policy, but also gives rise to a breach of the duty of

good faith and fair dealing because AIG has wrongfully withheld payment of amounts that are

covered under the AIG Policy.

        160.    AIG’s indefensible, arbitrary, and capricious failure to pay or explain its refusal to

pay Pre-Claim Inquiry Costs, having acknowledged coverage for such, was an abdication of not

only AIG’s contractual obligations but also a breach of the duty of good faith and fair dealing

under the AIG Policy.

        161.    The Defendant Insurers’ refusal to pay Loss based on the sole erroneous position

that neither the Subpoenas nor the qui tam complaint constitute a Claim under the Subject Policies

is an unreasonable coverage position in violation of the plain language of the Subject Policies and

controlling law, as well as a breach of the Defendant Insurers’ duty of good faith and fair dealing

under the Subject Policies.



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        162.    The Defendant Insurers’ acts are inconsistent with Arthrex’s reasonable

expectations, are contrary to legal requirements, are contrary to the terms of the Subject Policies,

and constitute insurer bad faith under Delaware law.

        163.    As a result of the Defendant Insurers’ bad faith conduct, Arthrex has suffered

damages including, but not limited to, amounts Arthrex has incurred in establishing the extent of

its losses; consequential damages; pre- and post-judgment interest; and attorneys’ fees, costs, and

disbursements Arthrex has incurred to date and may incur in the future in prosecuting this action

to obtain the benefit of its insurance coverage.

                                   PRAYER FOR RELIEF

             WHEREFORE, Arthrex respectfully requests an order as follows:

        a.      Awarding Arthrex compensatory and consequential damages as a result of the

Defendant Insurers’ breaches of their express contractual obligations to timely and fully pay

Arthrex’s Loss under the Subject Policies in an amount to be determined at trial but in any event

exceeding $5,000,000 for each Defendant Insurer and $10,000,000 in the aggregate;

        b.      Awarding Arthrex consequential damages, including attorneys’ fees, for the

Defendant Insurers’ breaches of their implied duties of good faith and fair dealing in connection

with their failure to timely and fully pay Arthrex’s Loss under the Subject Policies;

        c.      Awarding Arthrex its attorneys’ fees and costs of this suit;

        d.      Awarding Arthrex pre-judgment and post-judgment interest; and

        e.      Awarding Arthrex any other and further relief as this Court deems just and proper.

                                DEMAND FOR JURY TRIAL

Arthrex hereby demands that this matter be heard before a jury on all issues so triable




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Dated: April 9, 2022                  BLANK ROME LLP

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